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                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 UNITED STATES                                   )
                                                 )
                                                 )
                    v.                           )      No. 1:21-CR-143-ELR-CCB
                                                 )
                                                 )
 VICTOR HILL,                                    )
                                                 )
            Defendant.                           )


                   SHERIFF VICTOR HILL’S RESPONSE TO
                  THE GOVERNMENT’S MOTION IN LIMINE

      Sheriff Victor Hill has a constitutional right to present evidence that is

material and favorable to his defense and that calls into doubt whether the

government can prove each element of the charged crime beyond a reasonable

doubt. See Crane v. Kentucky, 476 U.S. 683, 690 (1986); see also Chambers v. Mississippi,

410 U.S. 284 (1973); Pittman v. Secretary, Fla. Dep’t of Corrections, 871 F.3d 1231, 1246

(11th Cir. 2017). While that evidence must comply with rules designed to ensure

the fairness and reliability of the jury’s verdict, “where those rules are ‘arbitrary

or disproportionate to the purposes they are designed to serve, they must fall to

the accused’s right to present a defense.” Pittman, 871 F.3d at 1246 (quoting Rock

v. Arkansas, 483 U.S. 44, 56 (1987)).
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      The government seeks to prevent Sheriff Hill from presenting nine (9)

broad categories of evidence and argument it characterizes broadly as “jury

nullification,” including:

   1. Insinuations that

          a) The government pursued this prosecution for an improper purpose
             including a political or malicious motive;

          b) This is a novel theory of prosecution;

          c) Sheriff Hill’s alleged misconduct is minor compared to other law
             enforcement officer misconduct; or

          d) The government could have addressed Sheriff Hill’s conduct
             through means other than a criminal prosecution;

   2. Implications that Sheriff Hill’s good acts, accolades, and accomplishments
      excuse his alleged conduct;

   3. Suggestions that Sheriff Hill’s suspension from office has negatively
      impacted the community or that his conviction would do so;

   4. Suggestions that the victims’ past or subsequent misconduct or bad acts
      justify Sheriff Hill’s alleged treatment of them;

   5. Suggestions that unrelated incidents of violence in the jail justify Sheriff
      Hill’s practices; and

   6. Arguments that Sheriff Hill’s suspension from office would satisfy the
      need for justice.


(Dkt. 65 at 16.)




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      The government argues that each of the above categories would be

irrelevant to whether the alleged victims were deprived of their right to be free

from excessive force and whether Sheriff Hill acted willfully under Federal Rule

of Evidence 401. The government also argues that the “sole purpose of Hill’s

anticipated arguments and evidence would be to mislead the jury, confuse the

issues, and suggest the jury improperly decide this case on an emotional basis.”

(Dkt. 65 at 13). Rather than addressing each of these areas individually and with

any specificity, the government simply groups them together and argues none of

them are relevant and all of them are prejudicial. This failure by the government

to argue with particularity should be fatal at the outset.

      In reality and contrary to the blanket government assertion above, the

aforementioned categories are central to Sheriff Hill’s defense as they are directly

probative of two elements of the charged offense—whether his use of a restraint

chair served a legitimate law enforcement purpose and whether he acted with

specific intent to deprive the alleged victims of their constitutional rights. This

Court should deny the government’s motion to the extent it seeks to hamstring

Sheriff Hill’s right to present evidence in his defense.

                                   ARGUMENT

      The Government alleges that Sheriff Hill willfully deprived detainees at the

Clayton County Jail of “the right to be free from the use of unreasonable force by



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law enforcement officers amounting to punishment,” in violation of 18 U.S.C. §

242. (Dkt. 49.) Section 242 is a specific intent crime, meaning that the government

must prove Sheriff Hill acted specifically for the purpose of doing something the

law forbids. See Screws v. United States, 325 U.S. 91, 104 (1945); United States v.

House, 684 F.3d 1173, 1199-1200 (11th Cir. 2012). And yet the government seeks to

prevent Sheriff Hill from presenting evidence that probes whether he acted for the

purpose of depriving the alleged victims of their constitutional rights and whether

he believed there was a legitimate law enforcement objective in his use of the

restraint chair.

 I.   Sheriff Hill Should Be Permitted to Present Evidence and Argument that
      He Believed His Use of the Restraint Chair was Necessary to Maintain
      Order in the Jail.

      Where, as here, an indictment alleges that the defendant law enforcement

officer used excessive force against pretrial detainees amounting to punishment,

the government must prove that the defendant’s conduct was objectively

unreasonable and that he knew it was forbidden by law. See Crocker v. Beatty, 995

F.3d 1232, 1249 (11th Cir. 2021).

      The government seeks to get out of the specific intent requirement by

arguing that the Court already “found” that Sheriff Hill had fair warning that his

use of the restraint chair violated the alleged victims’ rights. (Dkt. 65 at 10.) But the

government confuses the posture of this Court’s ruling. The Court, in denying



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Sheriff Hill’s motion to dismiss the indictment, was not making factual findings

about anything Sheriff Hill specifically knew—nor could it at the motion to

dismiss stage. The Court was ruling on whether Sheriff Hill was immune from

prosecution on Due Process grounds as a matter of law, not finding as a matter of

fact that Sheriff Hill knew his conduct was illegal. That remains an element the

government must prove to a jury beyond a reasonable doubt.

      The absence of other prosecutions or even significant civil cases for restraint

alone gets directly to whether he specifically knew that he was violating the law.

Physical restraint is allowed and often required to maintain order and security in

a jail, and restraint chairs are one of many lawful tools used by officers. The fact

that no law enforcement officer has ever been prosecuted for mere restraint—

regardless of their motive—is probative of what Sheriff Hill should have known

that in restraining unresisting detainees, he was committing a federal crime.

      Jails are chaotic, violent places, and Sheriff Hill had ultimate responsibility

for ensuring the safety of both his staff and those incarcerated within the jail. As

Sheriff, he had to make constant decisions regarding procedures and tactics, both

as general measures within the jail and on a day-to-day basis. See Bell v. Wolfish,

441 U.S. 520, 546-47 (1979) (noting jail administrators are owed “wide-ranging

deference in the adoption and execution of policies and practices that in

[administrators’] judgment are needed to preserve internal order and discipline



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and to maintain institutional security”) (alteration added)). Sheriff Hill should

therefore be allowed to present evidence of the impact his tactics, including the

restraint chair, had on maintaining the legitimate pursuit of law and order.

      He should also be allowed to present evidence contrasting his conduct with

other conduct that has been held to be criminal because—again—the government

has to prove beyond a reasonable doubt that his use of the restraint chair in this

way was something any reasonable officer would have known was

unconstitutional. Unlike officers who use their knees to cut of oxygen flow to an

arrestee, or who repeatedly tase inmates who are lying prone on the ground, or

who restrain and then physically torture inmates, the jury could well believe that

putting an inmate in a chair withing nothing more is something Sheriff Hill may

not have known was unconstitutional.

      Finally, what the government calls “unrelated events that preceded or post-

dated Hill’s uses of force” (Dkt. 65 at 9) are probative of whether Sheriff Hill

believed that there was need to use aggressive techniques to maintain an

environment of control. The government wants the jury to evaluate the seven

alleged incidents in a vacuum based solely on what Sheriff Hill knew about those

individuals in that moment. But that belies the reality in which Sheriff Hill ran his

jail, where sometimes restraint is necessary as a preventive measure and not just a

reactive one. Sheriff Hill should be allowed to present evidence and argument that



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he and other officers at the jail used the restraint chair broadly as a means of

general deterrence and not just as a response to actions the alleged victims took in

the moment.

II.     Sheriff Hill Should Be Allowed to Present Evidence of the Alleged
        Victims’ Prior Conduct to the Extent it Informed His Assessment of Their
        Threat Level.

        Sheriff Hill does not intend to introduce acts committed by the alleged

victims to impugn their character and prejudice the jury. However, to the extent

the alleged victims were known entities to Sheriff Hill and his staff and their prior

conduct is relevant to their risk of violence or flight, he should be able to present

that evidence to the jury. For example, alleged victim J.H., who is the subject of

Count Five of the indictment, had a history of malingering in an attempt to escape

from custody. Sheriff Hill should be allowed to explain to the jury why he might

have considered J.H. a flight risk and why the restraint chair was warranted in his

view.

        To the extent the Court is concerned that the jury could not distinguish the

permissible use of this evidence, a limiting instruction might be appropriate to

obviate the risk of prejudice.




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      III.   Sheriff Hill Should be Allowed to Present Evidence of Bias, Motive,
             and Good or Bad Character as is Permitted Under the Federal Rules
             of Evidence.


      The government attempts to preemptively prevent Sheriff Hill from offering

evidence that is otherwise clearly permitted under the Federal Rules of Evidence.

If a witness testifies who has a particular bias towards the Sheriff based on a

political or otherwise personal motive or interest, that is certainly proper under

the Federal Rules of Evidence. See U.S. v. Abel, 469 U.S. 45 (1984). Similarly, if the

good or bad character of a witness is appropriate and allowable under the Rules,

the Sheriff should not be prevented from offering legitimate and probative

evidence. The good character and/or good acts of Sheriff Hill should be allowed

at such time if they are appropriate and relevant to the proceedings.

                                        Conclusion

      The government has not even attempted to make a particularized argument

as to why any of the above should not be admissible and for that reason alone, the

government’s motion should be denied in its entirety. Additionally, the

government should not be permitted to attempt narrow the issues to avoid their

obligation to show knowledge and willfulness which is required under the statute

for which they have chosen to prosecute Sheriff Hill. For those reasons, Sheriff Hill

respectfully requests that the Court deny the government’s Motion in Limine.




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This 30th day of August, 2022.

                                 Respectfully submitted,

                                 /s/Marissa Goldberg____________
                                 Marissa Goldberg

                                 /s/ Drew Findling______________
                                 Drew Findling

                                 /s/ Lynsey M. Barron
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                          CERTIFICATE OF SERVICE

      I hereby certify that on the below date I electronically filed the foregoing

Motion to Dismiss the Indictment with the Clerk of Court using CM/ECF system

which will automatically send email notification of such filing to the to the

following attorneys of record:


                  Brent Gray, AUSA
                  Bret Hobson, AUSA
                  U.S. Attorney’s Office
                  600 Courthouse
                  75 Ted Turner Drive SW
                  Atlanta, GA 30303


      This 30th day of August, 2022.

                                        /s/ Marissa Goldberg
                                        By: Marissa Goldberg
                                            Ga. Bar No. 672798

                                        Attorney for Sheriff Victor Hill
